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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 NORTHROP GRUMMAN
 SHIP SYSTEMS, INC.,
 Plaintiff.,

 v.                                                    C.A. No. 1:20-mc-00257-UNA

 THE MINISTRY OF DEFENSE OF
 THE REPUBLIC OF VENEZUELA,

 Defendant.
                                         /




       EXPERT REPORT OF MANUEL A. GOMEZ IN SUPPORT OF NORTHROP
     GRUMMAN SHIP SYSTEMS, INC.’S REPLY TO PETROLEOS DE VENEZUELA,
      S.A.’S CROSS-MOTION TO DISMISS FOR LACK OF JURISDICTION AND IN
         OPPOSITION OF PLAINTIFF’S AMENDED MOTION FOR A WRIT OF
                         ATTACHMENT FIERI FACIAS

I.      Scope of this report

        1. Counsel for Northrop Grumman Ship Systems, Inc., f/k/a Ingalls Shipbuilding, Inc.,
           and now known as Huntington Ingalls Incorporated (“Plaintiff” or “Huntington
           Ingalls”) has instructed me to prepare this report in response to Petróleos de Venezuela,
           S.A.’s (“PDVSA”) Memorandum of Law in Support of its Cross-Motion to Dismiss
           for Lack of Jurisdiction and in Opposition to Huntington Ingalls’ Amended Motion for
           a Writ of Attachment Fieri Facias.
        2. I write this report to reiterate my original position regarding PDVSA’s lack of
           independence from Venezuela, and to refute the interpretations of my February 19,
           2021 report (“Gómez Report #1”) by PDVSA and its experts Allan R. Brewer-Carías
           and Francisco Medina Herrera. Nothing in their opinions modifies my prior assessment
           about the relationship between PDVSA and the Bolivarian Republic of Venezuela
           (“Venezuela”). In preparing this report, I have examined the following documents:



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               a. Memorandum of Law in Support of its Cross-Motion to Dismiss for Lack of
                  Jurisdiction and in Opposition to Northrop Grumman Ship Systems, Inc.’s
                  Amended Motion for a Writ of Attachment Fieri Facias, filed on April 2, 2021
                  as document 32 (“PDVSA’s Opposition Memo”).
               b. Expert Declaration of Allan R. Brewer-Carías filed on April 2, 2021 as
                  document 33 (“Brewer Declaration”).
               c. Declaration of Kevin A. Meehan filed on April 2, 2021 as document 34
                  (“Meehan Declaration”).
               d. Declaration of Horacio Francisco Medina Herrera filed on April 2, 2021 as
                  document 35 (“Medina Declaration”).
      3. This report is also the independent product of my professional assessment about the
         issues presented to me regarding the relationship between Venezuela and PDVSA. My
         opinions stated here are not subject to any external influence, pressure, or interest in
         the outcome of any dispute —potential or present— between any and all of the parties
         involved in this matter. The considerations and conclusions expressed in this report
         embody my professional opinion on the specific matters to which they refer. I am being
         paid for my services in this matter, but my fees are not dependent on the nature of the
         opinions I state here, or on the result of the case.
      4. For the reasons set forth below, it is my professional opinion that none of the
         interpretations offered by PDVSA through its counsel and experts affect my
         conclusions that PDVSA is Venezuela’s alter ego and its assets and interests in the
         United States are subject to the pervasive control of Venezuela. Regardless of whether
         it is Maduro or Guaidó, the Venezuelan government treats PDVSA and Venezuela’s
         assets as one and the same, which has undermined the independence of the former.

II.   The lack of separateness between Venezuela and PDVSA is independent from the
democratic legitimacy or any other characterization of Guaidó’s and Maduro’s
governments.

      5. As I understand, the inquiry here is not focused on whether Maduro is illegitimate,
         undemocratic, or bad for the Venezuelan people; or if on the contrary, Guaidó is
         legitimate, democratic, and good for the country. The task is not to render a value


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               judgment about democratic legitimacy, government recognition or to restate the black
               letter law of Venezuela’s transition statute without considering the reality to which it
               applies. If there is one thing that Venezuela’s situation has proved to the rest of the
               world is that the law in the books can be completely disconnected from the law in
               action. This is a real tragedy for the country but cannot become a blanket shield for
               Venezuela’s legal liabilities abroad.      Venezuela’s law in the books has always
               appeared to be sophisticated, modern, and adequate, but it has palpably fallen victim
               of political actors from all sides. Whether those influencing the law have good or bad
               intentions is beside the point here.

           6. As I briefly explained in my earlier report 1 and the Brewer Declaration conceded,2 for
               decades, Venezuela’s legal framework has established a series of formal controls,
               administrative and legal procedures and checks and balances that, if applied, would
               ensure a proper level of separateness between Venezuela and its instrumentalities,
               including PDVSA. It is uncontroverted that Maduro and his predecessor government
               led by the late Hugo Chávez chose to ignore many of those formal controls and
               manipulated institutions to the point that the lines between Venezuela and many of its
               instrumentalities, including PDVSA, got completely erased.

           7. Nonetheless, as Maduro has exercised complete control over all branches of
               government, not all procedures need to be ignored or bypassed. Certain formalities are
               followed, ministers and other officials are routinely appointed, budgets are formally
               approved and so on.        Nevertheless, since most —if not all— institutions are
               compromised and government agencies continue to be in the hands of trusted political
               operatives, many institutional lines are blurred, and most controls are reduced to a
               rubber stamp. Unashamedly, law and legal institutions have become instruments in the
               hands of an ambitious regime that turned increasingly undemocratic. Such dramatic
               situation is what led to Guaidó’s political rising about two and a half years ago.




1
    See, Gómez Report #1 at ¶10.
2
    See, Brewer Declaration at ¶¶20-22.



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           8. Notwithstanding an enormous amount of international pressure, Maduro still
                effectively controls most of the country and PDVSA, with the obvious exception of the
                foreign assets that Guaidó’s interim government controls. Guaidó’s promise to return
                Venezuela back to democracy and the rule of law garnered support both domestically
                and abroad, especially after the world became increasingly desperate to help resolve
                the crisis. As Guaidó’s interim government was installed in early 2019 and its first
                official acts were issued, it became immediately apparent that one of its key targets was
                to obtain control of PDVSA’s assets abroad at all costs as a bargaining chip to force
                Maduro out. The relationship between Venezuela and PDVSA became the special
                focus of Guaidó’s interim government, which symbolically vowed to restore the
                functional autonomy of PDV Holding and related entities,3 but in reality, maintained a
                tight grip on them to avoid any actions that would weaken the interim government’s
                negotiating position and attempted to remove any obstacles that might have allowed
                Maduro to regain control over them.4

           9. Guaidó’s political mission has been widely perceived as legitimate and his efforts to
                restore democracy in that country have been celebrated both at home and abroad. Since
                its early days, his interim government turned to PDVSA’s assets abroad and made them
                a political bargaining chip to force Maduro out of power and counteract his sweeping
                control of Venezuela. Maduro was debilitated but did not fall and Guaidó began losing
                momentum.5 Notwithstanding an initial enthusiastic endorsement and strong support
                shown by many nations in favor of Guaidó’s cause, the unexpected protraction of his
                interim government and the controversial extension of his original mandate, have made



3
    TS, articles 15(a) and 34.
4
  As a way to streamline the recovery process of PDVSA’s foreign assets and eliminate any potential obstacles that
might arise from the application of any ordinary Venezuelan legal provisions, article 34(2) TS expressly stated that
the provisions contained therein regarding PDVSA and its affiliates would prevail over any other applicable rules and
would guide the interpretation of any other legal formalities required by the Venezuelan legal order and the corporate
documents” (“La presente disposición transitoria prelavecerá sobre cualesquiera otras normas aplicables y orientará
la interpretación de cualesquiera otras formalidades requeridas en el ordenamiento jurídico venezolano y en los
documentos corporativos…”).
5
  Stephen Gibbs, “Venezuela’s Nicolás Maduro strengthens grip as Juan Guaidó loses foreign support”, The Times, 7
January 2021. Available at: https://www.thetimes.co.uk/article/venezuela-president-maduro-foreign-support-rival-
juan-guaido-dnzzg688d (last visited, 16 April 2021).



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           it difficult for Guaidó to maintain his legitimacy.6 Faced with an eroding support both
           domestically and abroad, Guaidó has struggled to hold onto an economically significant
           slice of PDVSA’s foreign assets, which is perhaps his only leverage against Maduro
           today.
        10. This reality should help explain Guaidó’s efforts to maintain a tight grip on PDVSA’s
           foreign property and interests. Given the high stakes involved in the battle for the
           political control of Venezuela and the significant economic importance of PDVSA to
           both sides, it would be naïve to assume that the foreign assets held by PDV Holding,
           Citgo and other related entities are not at the heart of the political tug-of-war that exists
           between Maduro and Guaidó. The corporate conglomerate is the key bargaining chip
           for Guaidó, and his interim government has done everything in its power to keep it that
           way.
        11. Guaidó’s interim government resulted from the temporary amalgamation of two
           branches of government (legislative and executive) whereby Guaidó, as President of
           the National Assembly also became Guaidó, the Interim President of the Republic, due
           to Maduro’s refusal to leave his post.           Even though justified by exceptional
           circumstances, the fact is that the separation of powers in Venezuela is far from
           operating normally. The practical effect of such distorted reality is that the check to
           Guaidó’s conduct as Interim President might end up in the hands of Guaidó himself as
           President of the National Assembly. While it is true that the National Assembly is a
           corporate body with its own rules and formal protocols that might hypothetically serve
           as a counterbalance to the attempt by an individual to exert pressure and amass power,
           Guaidó’s clout is not to be discounted — as underscored by the fact that Mr. Guaidó
           continues to maintain that he has dual roles even though he is formally no longer the
           President of the National Assembly and, as a result, in the eyes of some, no longer
           formally entitled to claim the title of Interim President.

        12. As I now turn to explain, Guaidó’s Interim Government has not relied on the traditional
           checks and balances and regulatory layers available under Venezuelan law to handle

6
  Antonio María Delgado, “As Maduro’s grip on Venezuela tightens, Guaidó’s support abroad shows signs of
fracturing”, The Miami Herald, 6 January 2021. Available at: https://www.miamiherald.com/news/nation-
world/world/americas/article248296290.html (Last visited, 16 April 2021).



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               the state’s relationship with PDVSA’s interests abroad. The Interim Government has
               opted instead for enacting a set of relatively simple but unprecedented sweeping
               emergency regulations that have had the practical effect of intensifying the political
               grip over PDVSA’s foreign assets and have helped erode any vestiges of independence
               that might have existed. As a result, and perhaps unfortunately for the Venezuelan
               people, PDVSA has lost all its individuality and become inseparable from the State.

III.       The Transition Statute and other Guaidó-issued extraordinary regulations lack the
procedures, accountability and other checks and balances that govern the ordinary
relationship between the state and its instrumentalities in Venezuela, therefore enabling
Venezuela to use PDVSA as its own, deprive it from its independence, and making it act on
behalf of Venezuela.

           13. The Transition Statute (“TS” or “Estatuto de Transición” in Spanish) and other officials
               acts issued by Guaidó’s interim government created a special regime to handle
               PDVSA’s foreign assets and vowed to confirm its independence, transparency, and
               accountability, but that did not —and could not— provoke any material changes to the
               relationship between Venezuela and PDVSA. Contrary to what Professor Brewer and
               Chairman Medina seem to suggest, real separateness and independence of a
               government instrumentality does not stem from the mere passage of formal legal
               provisions but from conduct that honors such legislation and from the context in which
               the state and its instrumentality operate.

           14. Both the Brewer Declaration and the Medina Declaration give the TS and other
               regulations enacted by Guaidó an effect that I do not think they have. The Brewer
               Declaration states that the “binding decisions adopted by both the National Assembly
               and Interim President Juan Guaidó since January 2019 [show that] there is currently a
               clear corporate separation between the Interim Government and PDVSA” 7 and that
               “The Democracy Transition Statute began the process of restoring PDVSA’s
               independence”.8     Similarly, the Medina Declaration states that “the ad hoc

7
    Brewer Declaration at ¶15.
8
    Brewer Declaration at ¶28.



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                administrative board also has safeguarded the independence of PDV Holding and its
                subsidiaries from political control and from day-to-day operational control by the
                Interim Government”.9

           15. I disagree with the characterization that the TS and other Guaidó-issued regulations
                provoked a material change in the relationship between PDVSA and Venezuela by
                virtue of their mere existence. The country did not —and could not— return to
                democracy just because article 1 TS said that its goal was to “establish a legal
                framework to govern a democratic transition in the Bolivarian Republic of
                Venezuela”.10      Similarly, PDVSA’s ad hoc board did not automatically become
                autonomous, independent and bound to operate guided by “technical criteria aimed at
                the efficient management of PDVSA’s direct and indirect subsidiaries organized
                abroad”11 because article 7 of Guaidó’s Decree No. 3 said so. The fact is that those
                statements have not effected any change regarding the relationship between PDVSA
                and Venezuela.

           16. Even though the TS expressly mentions the interim government’s desire to return to
                democracy, its practical goal was not to create filters, layers or counterbalances, but
                instead to streamline and simplify Guaidó’s operational capacity and conversely thwart
                Maduro’s influence. The Brewer Declaration lists several provisions of the TS (i.e.,
                articles 4, 11, 15, 34) as examples of the interim government’s process to restore
                PDVSA’s independence,12 but has fallen short of showing how the formal obligations
                listed in each of those provisions have been able to effectively revert the status quo ex
                ante regarding the PDVSA foreign entities since Guaidó gained control over them. For
                example, a legal provision declaring that the TS is “mandatory for all authorities and
                public officials, as well as individuals” (Article 4 TS), does not advance the argument
                of PDVSA is independent from Venezuela.



9
    Medina Declaration at ¶12.
10
     Brewer Declaration at ¶ 29.
11
     Brewer Declaration at ¶¶ 16, 40-42.
12
     Brewer Declaration at ¶¶ 29-35.



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           17. On the other hand, the language of at least one of the key provisions of the TS regarding
                PDVSA and PDV Holding —article 34— can be read as having paved the way for the
                interim government to maintain a grip on the PDVSA entities and use them as
                bargaining chips against Maduro, instead of allowing those entities to act as
                independent commercial entities like the Brewer Declaration and the Medina
                Declaration propose.13 An express provision that prohibits PDV Holding and its
                subsidiaries from having “any relationship”; with the Maduro regime and from making
                any payment or patrimonial contribution to PDVSA is obviously a political order. 14 If
                a company/instrumentality is to be left alone and guaranteed to operate independently
                from its shareholder’s direct influence, imposing such a blanket restriction (i.e. no
                relationship with PDVSA whatsoever) seems counter to any notion of operational and
                commercial autonomy. Even if the members of Guaidó’s ad hoc board needed to obtain
                information that they deemed strategically important to the operation of the company,
                the TS would not allow them to seek it.

           18. The Brewer Declaration takes issue with my interpretation of articles 34(3) and 36 TS
                and states that the directions given there by Venezuela as a shareholder of PDVSA and
                PDV Holding and its affiliates, “is a completely proper exercise of shareholder power
                and is not ‘extensive control’ of the operations of the company”. 15 Whereas it is true
                that as a general matter of Venezuelan law a shareholder has rights over the direction
                of the corporation; in this particular context, the shareholder is not any private party
                but a state that is clearly directing the corporation to serve as its political tool. Maduro
                is not just any “improper claimant” as the Brewer Declaration suggests, but more
                significantly Guaidó’s political nemesis.

           19. It is also worth noting that even the former head of PDVSA’s ad hoc board, Luis
                Pacheco, has admitted in an interview that settlement with bondholders suing over
                PDVSA’s default on its 2020 bonds in October 2019 are circumscribed by limitations



13
     Brewer Declaration at ¶34, Medina Declaration at ¶10.
14
     TS, article 34(1)(b)
15
     Brewer Declaration at p. 15, footnote 25.



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             placed on the PDVSA ad hoc board by the Guaidó legislature in the TS — not in the
             context of a shareholder vote. 16

        20. In the same interview, Mr. Pacheco characterized the decision to default on PDVSA’s
             bond as a political decision taken by the legislature, not PDVSA, as directed at the
             interim government’s efforts to wrestle control of the Venezuelan territory from
             Maduro.17

        21. Regardless of how many formal statements vowing for independence and transparency
             were included in the TS and other official acts of Guaidó’s interim government, the
             clear goal of those same regulations and the institutions they depend on is to keep
             PDVSA’s foreign assets from Maduro’s grip, and the only way how Guaidó has been
             able to do so is by keeping those assets tightly controlled. The emergency regulations
             passed by Guaidó’s interim government and the National Assembly that he controls
             have served as a shortcut, a bypass to skip any obstacles stemming from Venezuela’s
             preexistent legal framework, which observance might pose an obstacle to the interim
             government’s political ends. Guaidó’s main goal is to thwart Maduro’s authority and
             hopefully force him out, and not necessarily to respect formalities, transparency, and
             regular procedures.

        22. The political legitimacy of the interim government or the constitutional justification for
             Guaidó’s authority does not change the impact of their actions in contributing to dilute
             any meaningful separation between PDVSA’s foreign assets and Venezuela. Guaidó’s
             interim government may consider that bypassing the regular controls set forth by
             Venezuelan law was justified by the political end of removing Maduro, but by doing

16
    Alejandro Hernández, “Si no hubiésemos demandado los bonistas habrían hecho una fiesta y tomado Citgo”,
interview with Luis Pacheco, Chairman of the ad hoc board of PDVSA, La Gran Aldea, 16 November 2020. Available
at:       https://us.embajadavenezuela.org/noticias/luis-pacheco-si-no-hubiesemos-demandado-los-bonistas-habrian-
hecho-una-fiesta-y-tomado-citgo/ (Last visited, 16 April 2021).
17
  Id. “Qué tan atada estaba la estrategia de la defensa de activos en el exterior al llamado ‘cese de la usurpación’?
Las decisiones se tomaron en un contexto donde se pensaba que el cambio político llegaría en poco tiempo. Una de
las premisas en mi mente era que con el ‘cese de la usurpación’ íbamos a tener una posición mucho más fuerte a la
hora de negociar cualquiera de las deudas. (“How tied was the strategy of defending assets abroad to the so-called
“cessation of usurpation”? -The decisions were made in a context where it was thought that political change would
come in a short time. One of the premises in my mind was that with the "cessation of usurpation" we were going to
have a much stronger position when it came to negotiating any of the debts.).



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             so they have also contributed to erode any line that might have separated PDVSA from
             Venezuela an any vestige of independence by the former.

        23. Guaidó’s provisional government has been functioning during more than two years and
             has not been able to fulfil its promise to return the rule of law to Venezuela. Thus, in
             the case of PDVSA’s foreign assets, the conduct of Guaidó’s interim government has
             revealed nothing less than a sweeping control over the energy conglomerate due to
             political exigencies. A custom-made exceptional legal regime headed by the TS has
             removed any potential obstacles that might stand in the way between Guaidó’s control
             over PDVSA’s foreign interests.

        24. The very limited regulations enacted by Guaidó’s controlled National Assembly as an
             effort to get rid of Maduro and shift Venezuela back to democracy cannot replace —or
             even compare with— the system of formal controls that has existed in that country
             since the creation of PDVSA back in the 1970s, and which would ensure a proper
             separation between PDVSA (or any other instrumentality) and Venezuela.                           The
             problem with Maduro and his predecessor Chávez is that they deliberately chose to
             bypass most formal legal processes and control mechanisms, thus making PDVSA an
             extension of the state and blurring the separateness between them. The problem with
             Guaidó is somewhat different because the National Assembly that he directs created an
             exceptional legal regime around his mandate. Nevertheless, Guaidó and the interim
             government have behaved in a manner that leads to a similar outcome regarding the
             separateness —or lack thereof— between PDVSA and Venezuela.
        25. By way of example, in terms of financial control, PDVSA elected to make payments
             on its 2020 bonds in May of 2019 and default on those same payments in October of
             2019 based on orders from the National Assembly.18 At the same time, the PDVSA ad




18
  Junta Administradora Ad Hoc de PDVSA, News, (“The ad hoc administrative board of Petróleos de Venezuela, S.A.
announces that the National Assembly of the Bolivarian Republic of Venezuela has authorized the payment of interest
on the PDVSA 2020 bond” CARACAS, VENEZUELA, Thursday, May 9, 2019) Available at: http://pdvsa-
adhoc.com/en/news/ (Last visited, 16 April 2021); Id., “Presentación de Resultados 2019-2020” (PDVSA defaults on
2020 bonds pursuant to decision of the National Assembly). Available at: http://pdvsa-adhoc.com/en/our-mission/
(Last visited, 16 April 2021).


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             hoc board has no physical presence in Venezuela and has not hired any employees there
             either.19
         26. Ultimately, Guaidó’s interim government does not even have the benefit of relying on
             the traditional legal framework that governs public entities in Venezuela and would
             ensure their proper management. Simply put, the traditional processes and mechanisms
             that exists under Venezuelan law are unreachable by his interim government, which is
             why Guaidó resorted to exceptional powers. As long as this very unusual situation of
             two competing governments persists, Guaidó’s reliance on a few scant provisions of
             emergency legislation that calls for transparency, accountability and independence –
             but is unable to provide it— coupled with his need to use PDVSA’s foreign assets as a
             bargaining chip against Maduro cannot possibly ensure any separateness between
             PDVSA and Venezuela.
         27. Based on the aforementioned, I continue to believe that the circumstances considered
             by this Court back in 2018 regarding PDVSA’s status as Venezuela’s alter ego have
             not only remained in place but become more pronounced as a result of an ongoing tug-
             of-war between Maduro and Guaidó.

I declare under penalty of perjury that the foregoing is true and correct.

Miami, 16 April 2021.




                                                      Manuel A. Gómez




19
   Junta Administradora Ad Hoc de PDVSA, “Presentación de Resultados 2019-2020”, “Debido a la dispersión
geográfica de sus miembros, y la falta de recursos, las reuniones son virtuales, una vez por semana o de manera
extraordinaria cuando la situación así lo amerite – Quorum de cinco de sus miembros (artículo 10, decreto No.3”.
(Due to the geographic dispersion of its members, and the lack of resources, the meetings are virtual, oxnce a week or
in an extraordinary way when the situation warrants it - Quorum of five of its members (article 10, decree No.3”)
Available at: http://pdvsa-adhoc.com/en/our-mission/ (Last visited, 16 April 2021).


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